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                           IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF ARKANSAS
                                     CENTRAL DIVISION

STEPHEN JUSTICE JR.                                                                     PLAINTIFF

v.                              Case No. 4:24-CV-00087-KGB-JTK

SOCIAL SECURITY ADMINISTRATION,                                                      DEFENDANT
Commissioner

                                             ORDER

         Pending before the Court is Plaintiff Stephen Justice’s Application to Proceed In Forma

Pauperis. (Doc. No. 1) Mr. Justice states that he has no income or sources of support and that he

has no financial obligations. Because it is unclear, the Court would like some explanation about

how Mr. Justice is surviving without financial means or about his means of support from other

individuals or entities.

        The purpose of 28 U.S.C. § 1915 is to ensure that indigent litigants have an entre, not a

barrier, to the federal courts. In re Williamson, 786 F.2d 1336, 1338 (8th Cir. 1986) (quoting

Souder v. McGuire, 516 F.2d 820, 823 (3rd Cir. 1975)). Although a claimant need not be

completely destitute to take advantage of the IFP statute, he or she must show that paying the filing

fee would result in an undue financial hardship. Id.

        The Court hereby directs Mr. Justice to provide some explanation as to his means of

financial support and obligations, if any, within fourteen (14) days of the entry of this Order.

        SO ORDERED THIS 6th day of February, 2024.




                                                       ____________________________________
                                                       JEROME T. KEARNEY
                                                       UNITED STATES MAGISTRATE JUDGE

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